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                                                                     Revised Appendix A1

I.        VEIL PIERCING CHOICE OF LAW

        To date, cases against TPG have been filed in 20 states; 18 of the 20 (accounting for over 99% of the total cases against TPG)
look to the state of incorporation’s substantive law. The choice-of-law authority for each of those 18 forums is identified below. Here,
the relevant states of incorporation are Florida (i.e., Exactech, see AC ¶¶ 18-19) and Delaware (i.e., the existing Osteon entities and TPG
Inc., see id. ¶¶ 24, 32, 35). Delaware and Florida standards for veil-piercing are similar:

      •   Manichaean Cap., LLC v. Exela Techs., Inc., 251 A.3d 694, 706 (Del. Ch. 2021) (finding “Delaware public policy disfavors
          disregarding the separate legal existence of business entities” and veil-piercing is proper only in “‘exceptional case[s]’”) (internal
          citations and quotations omitted, emphases added);

      •   Omega Psi Phi Fraternity, Inc. v. HCE Grp. of Cos., Inc., 2011 WL 13228098, at *3 (S.D. Fla. Oct. 19, 2011) (“Florida courts
          are reluctant to pierce the corporate veil and will do so only in exceptional cases where there has been extreme abuse of the
          corporate form.”) (internal quotations omitted, emphases added).

      Forum (#                                                          Authority: Choice-of-Law Rule
     of Claims)2

       AL (2)       Charter Servs., Inc. v. DL Air, LLC, 711 F. Supp. 2d 1298, 1306 n. 13 (S.D. Ala. 2010) (applying the law of the state
                    of incorporation and collecting cases).



1
       This updated Appendix and the updated Appendix B reflect Plaintiffs’ claims against TPG that have been consolidated in the MDL as of July 24, 2023.
Any new states added since TPG served its Motion to Dismiss on June 9, 2023 have been highlighted in yellow throughout.
2
         The relevant forums are either (1) the forums where the MDL cases were transferred from or (2) in the case of direct filings, the “Original District” that
each Plaintiff selected. In contravention to this Court’s Order, several Plaintiffs who filed directly in the MDL against the TPG Defendants either did not identify
an “Original District” or identified more than one “Original District.” See ECF No. 74 at 2 (“Any Plaintiff who files a complaint directly in this Court pursuant to
this Direct Filing Order shall designate in the Master Short Form Complaint the federal district in which the complaint should be deemed to have otherwise been
originally filed absent this Direct Filing Order (hereinafter, the ‘Original District’).”). Given these Plaintiffs’ failure to follow the Court’s Order, for purposes of
this analysis only and reserving all rights, TPG assumes the “Original District” would be the states the Plaintiffs resided in at the time of filing.



                                                                                   1
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AR (11)    Container Life Cycle Mgmt. LLC v. Safety Mgmt. Servs. Co., 2020 WL 2843224, at *4, 6 (W.D. Ark. June 1, 2020)
           (holding “Arkansas’s highest court would apply the law of the state of incorporation to the veil-piercing inquiry” like
           the “majority of jurisdictions” and denying motion to dismiss in part given allegations, not present here, that the
           relevant entities “operated as if they were a singular business entity”).

CA (2)     Leitner v. Sadhana Temple of New York, Inc., 2014 WL 12588643, at *16 (C.D. Cal. Oct. 17, 2014) (“Several California
           district courts have ... found that the law of the state of incorporation should be applied.”) (collecting cases).

CO (1)     Echostar Satellite Corp. v. Ultraview Satellite, Inc., 2009 WL 1011204, at *7 (D. Colo. Apr. 15, 2009) (applying
           “Colorado choice of law principles” and, therefore, “the law of the state of incorporation”).

CT (11)    Haina Inv. Co. Ltd. v. InterEnergy Grp. Ltd., 2021 WL 4481204, at *4-5 (Conn. Super. Ct. Sept. 8, 2021) (“[T]his
           Court finds that for the purposes of corporate veil-piercing, Delaware law applies as it is the law of the jurisdiction in
           which [the defendant] was incorporated.”).

FL (3)     Parker v. Ahmsi Ins. Agency Inc., 2019 WL 13178508, at *9 n.10 (S.D. Fla. Aug. 2, 2019) (“In deciding whether
           plaintiffs have pled sufficient facts to pierce Homeward’s corporate veil, the law of the state of Homeward’s
           incorporation—Delaware—applies.”).

KY (1)     EiA Props., LLC v. Fenwick Equestrian, LLC, 2015 WL 5698540, at *3 (E.D. Ky. Sept. 28, 2015) (“In a traditional
           corporate veil piercing case, Kentucky courts apply Restatement (Second) of Conflict of Laws § 307, which states that
           ‘[t]he local law of the state of incorporation will be applied ….’”).

LA (20)    Eddie Tourelle’s Northpark Hyundai, LLC v. Hyundai Motor Am. Corp., 2019 WL 6701305, at *5 (E.D. La. Dec. 9,
           2019) (“Under Louisiana’s choice-of-law rules, the law of the state of incorporation governs a request to pierce the
           corporate veil.”) (internal citations and quotations omitted).

ME (22)    GMAC Com. Mortg. Corp. v. Gleichman, 84 F. Supp. 2d 127, 132, 139 n.7 (D. Me. 1999) (holding the substantive
           “law presumptively applied” to a veil piercing claim is “the law of the place of incorporation” and denying summary
           judgment where, unlike here, plaintiff alleged defendant created another corporate entity, caused that entity to “not
           perform its contractual obligations,” and then “dissolve[d]” that corporate entity to “deprive[] [plaintiff] of its ability
           to recover damages” for the breach) (internal citation omitted).




                                                                2
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    MO (1)          Nat’l Green Gas, L.L.C. v. Estrategy, Inc., 2019 WL 13207475, at *3 (W.D. Mo. Jan. 17, 2019) (holding “Missouri
                    Courts apply … the law of the state of incorporation” because “request[s] to pierce the corporate veil … necessarily
                    involve an analysis of how the controlling shareholders administered and governed the corporation” and denying
                    motion to dismiss where, unlike here, plaintiff alleged defendant “siphoned” “money from the corporate accounts to
                    personal accounts” and “deplet[ed] [the subsidiary’s] funds and render[ed] it incapable to pay its creditors”).

    NJ (22)         Diebler v. SanMedica Int’l, LLC, 2021 WL 5013617, at *8 (D.N.J. Oct. 28, 2021), aff’d, 2022 WL 16552777 (D.N.J.
                    Oct. 31, 2022) (applying the laws of the state of incorporation to a veil piercing claim and noting “[u]nder New Jersey’s
                    choice-of-law rules, the law of the state of incorporation governs internal corporate affairs”) (internal citations and
                    quotations omitted).3

    NY (56)         Panam Mgmt. Grp., Inc. v. Pe𝑛a, 2011 WL 3423338, at *3 (E.D.N.Y. Aug. 4, 2011) (“New York’s choice-of-law
                    doctrine dictates that ‘the law of the state of incorporation determines when the corporate form will be disregarded.’”)
                    (internal citation omitted).




3
          Diebler notes that “[c]ourts within this district have also applied the law of ‘the state that has the most significant connection with the parties and the
transaction.’” 2021 WL 5013617, at *8 (internal citation omitted). Even if the Court applied that analysis, the New Jersey Plaintiffs’ claims still fail. For Plaintiffs
who originally filed in New Jersey (or who filed directly in the MDL and designated an Original District there), the state with the “most significant connection to
the parties and the transaction” may be—in addition to Delaware or Florida—New Jersey (i.e., the New Jersey Plaintiffs’ domicile) and New York or Connecticut
(i.e., where all the New Jersey Plaintiffs allege the implant surgeries occurred, see Rev. App’x B). But because New Jersey, New York, and Connecticut veil-
piercing law is all “substantially similar to” Delaware’s, the New Jersey Plaintiffs’ claims still fail. Fagan v. Fischer, 2019 WL 5587286, at *23 n.13 (D.N.J. Oct.
30, 2019) (“New Jersey’s veil-piercing framework is substantially similar to that of ... Delaware”); Cohen v. Schroeder, 248 F. Supp. 3d 511, 518 n.4 (S.D.N.Y.
2017), aff’d, 724 F. App’x 45 (2d Cir. 2018) (“The standards for piercing the corporate veil are substantially similar under Delaware and New York law…”)
(internal citation omitted); Schachter v. Sunrise Senior Living Mgmt., Inc., 2020 WL 1274601, at *6 n.4 (D. Conn. Mar. 16, 2020) (“Delaware law is substantially
similar to Connecticut law for purpose of determining whether a plaintiff should be permitted to pierce the corporate veil…); see also Linus Holding Corp. v. Mark
Line Indus., LLC, 376 F. Supp. 3d 417, 425 (D.N.J. 2019) (“In the absence of extraordinary circumstances, such as fraud or injustice, a court will generally decline
to pierce the corporate veil. The party seeking an exception to the fundamental principle that a corporation is a separate entity from its principal bears the burden
of showing that the court should disregard the corporate entity.”) (internal citation omitted, emphases added); Apex Mar. Co. v. OHM Enterprises, Inc., 2011 WL
1226377, at *2 (S.D.N.Y. Mar. 31, 2011) (“Piercing the corporate veil is a narrow exception to the doctrine of limited liability for corporate entities, and ... courts
should permit veil-piercing only under extraordinary circumstances.”) (emphases added, internal citation omitted); Schachter, 2020 WL 1274601, at *6
(“Ordinarily the corporate veil is pierced only under exceptional circumstances ….”).



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NC (3)     Young v. Carter, 2020 WL 525930, at *3 (E.D.N.C. Jan. 31, 2020) (applying the law of the state of incorporation as
           “[s]everal district courts … previously have concluded that the North Carolina Supreme Court would likely apply the
           law of the state of incorporation to the issue of veil piercing”).

OH (3)     NetJets Aviation, Inc. v. Perlman, 2022 WL 17741063, at *8 (S.D. Ohio Dec. 16, 2022) (“Ohio law directs courts to
           apply ‘the law of the state of incorporation when determining issues of veil-piercing.’”) (denying motion to dismiss
           where, unlike here, plaintiff alleged subsidiary “had no real existence of its own” and defendant “control[led] and
           manipulat[ed] [that subsidiary] to the point that [the defendant] could frustrate creditors by … declaring [that entity]
           insolvent” at whim) (internal citation omitted).

PA (1)     McElroy v. FirstEnergy Corp., 824 F. App’x 97, 99 (3d Cir. 2020) (“Under Pennsylvania choice of law principles, a
           court must look to the law of the state in which an entity is incorporated to determine whether a plaintiff may pierce
           that entity’s corporate veil.”).

TN (31)    United States ex rel. Fry v. Guidant Corp., 2008 WL 11510789, at *2 (M.D. Tenn. Aug. 27, 2008) (“[In] Tennessee
           … the law of the state of incorporation determines whether or not to recognize the corporate form.”).

TX (1)     Judson Atkinson Candies, Inc. v. Latini-Hohberger Dhimantec, 529 F.3d 371, 378 (7th Cir. 2008) (“Texas[’s] …
           choice-of-law rule for veil-piercing claims … [is] that the law of the state of incorporation governs such claims.”).

VA (2)     Jones v. Bank of Am. Corp., 2010 WL 6605789, at *10 (E.D. Va. Aug. 24, 2010) (“Under Virginia law, ‘the law of the
           state of incorporation ... determine[s] whether the corporate veil may be pierced.’”) (internal citation omitted).




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       One case has been filed against TPG in each of the remaining two states, South Carolina and Wyoming. Each state’s choice-of-
law analysis points to substantive state law with a similarly high bar to the other claims applying Delaware or Florida law.

       The original version of Appendix A, served on Plaintiffs with TPG’s opening brief on June 9, 2023, included Georgia law. The
one Plaintiff who had originally filed in Georgia has voluntarily dismissed “all claims asserted against Defendants TPG INC. and TPG
Capital L.P. (incorrectly named ‘TPG CAPITAL,’ a non-existent legal entity).” See Lawrence Berger v. Exactech, Inc., et al., Case No.
1:22-cv-06449-NGG-MMH, ECF 33 (Jan. 26, 2023) (Order). As a result, Georgia is no longer relevant to the choice-of-law analysis.

    Forum (# of                                                          Authority: Choice-of-Law Rule
      Claims)

      SC (1)        Choice-of-Law Rule: Government Interest Analysis. Duong v. N. Am. Transp. Servs. LLC, 2019 WL 13109647,
                    at *10 (D.S.C. Sept. 25, 2019) (applying South Carolina law as the law of the state whose “policies would be advanced
                    by having its laws applied to the facts of the case”) (internal citations and quotations omitted).4

                    Applicable State Law: SC or FL; the Plaintiff who designated South Carolina as its Original District resides in South
                    Carolina but alleges the implant surgery occurred in Florida. See Rev. App’x B.

                    Exceptionally High Standard to Veil Pierce: Sturkie v. Sifly, 313 S.E.2d 316, 318 (S.C. Ct. App. 1984) (“It is settled
                    authority that the doctrine of piercing the corporate veil is not to be applied without substantial reflection.”) (internal
                    citation omitted, emphasis added); Omega Psi Phi Fraternity, 2011 WL 13228098, at *3.

                    Similar Analysis as Delaware: Duong, 2019 WL 13109647, at *10 n.7 (holding “the veil-piercing analysis under
                    South Carolina law and Delaware law is substantially similar” given that both require the plaintiff to plausibly
                    allege a “combination of the factors” and “an overall element of injustice or unfairness”) (internal citation omitted);
                    see also App’x C (collecting cases).

      WY (1)        Choice-of-Law Rule: Place of Wrong. See generally Tolman v. Stryker Corp., 926 F. Supp. 2d 1255, 1258 (D. Wyo.
                    2013) (“Regarding tort claims … Wyoming applies the traditional choice-of-law rule lex loci delicti: The substantive
                    law of the place where the injury occurred governs.”).


4
        In this test, the court considers the policies underlying the law of each state and applies the law of the place that has the greatest interest in the litigation.



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 Applicable State Law: WY; the Plaintiff who designated Wyoming as its Original District resides in Wyoming and
 alleges the implant surgery occurred in Wyoming. See Rev. App’x B.

 Exceptionally High Standard to Veil Pierce: Mantle v. N. Star Energy & Constr. LLC, 437 P.3d 758, 799 (Wyo.
 2019) (“[T]o avoid injustice, the common law ‘allowed courts to pierce the veil of limited liability’ in exceptional
 circumstances.”) (emphasis added).

 Similar Analysis as Delaware: Compare Gifford v. Victory 1 Roofing & Constr., Inc., 2020 WL 10356871, at *4 (D.
 Wyo. Sept. 8, 2020) (considering (1) whether “the business is thinly capitalized”; (2) whether the entities’ “disregard
 legal formalities”; (3) whether the “corporate funds or assets are used for noncorporate purposes”; and (4) whether
 the “corporation is used as a ‘mere shell’”) with Br. 10-15 (considering “(1) whether the company was adequately
 capitalized for the undertaking; (2) whether the company was solvent; (3) whether corporate formalities were
 observed; (4) whether the dominant shareholder siphoned company funds; and (5) whether, in general, the company
 simply functioned as a façade for the dominant shareholder”) (citing Verdantus Advisors, LLC v. Parker Infrastructure
 Partners, LLC, 2022 WL 611274, at *2 (Del. Ch. Mar. 2, 2022))

 Medina v. Four Winds Int’l Corp., 111 F. Supp. 2d 1164, 1168-69 (D. Wyo. 2000) (“[A] parent corporation and its
 subsidiary ‘are treated as separate and distinct legal persons even though the parent owns all the shares in the
 subsidiary and the two enterprises have identical directors and officers.’”).

 Gasstop Two, LLC v. Seatwo, LLC, 225 P.3d 1072, 1078 (Wyo. 2010) (holding one factor “by itself is not grounds to
 pierce”).




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II.      SUCCESSOR LIABILITY CHOICE OF LAW

         As TPG explained in its brief, the Court need not engage in a choice-of-law analysis for successor liability given successor
liability principles are consistent across jurisdictions, and Plaintiffs’ claims fail regardless. See, e.g., Ronnoco Coffee, LLC v. Westfeldt
Bros., Inc., 939 F.3d 914, 920 (8th Cir. 2019) (noting the “well-settled general rule[s]” for substantive successor liability law have been
“adopted in virtually every State”); Asarco, LLC v. Union Pac. R.R. Co., 2017 WL 639628, at *17 (D. Idaho Feb. 16, 2017) (citing
Atchison, Topeka & Santa Fe Ry. Co. v. Brown & Bryant, Inc., 159 F.3d 358, 364 (9th Cir. 1997)) (“Successor liability law is largely
consistent across the states and federal courts.”).

        Across the 20 forums where cases have been filed against TPG, four choice-of-law frameworks apply: (i) the law of the state of
incorporation or place of contract; (ii) the law of the place of wrong; (iii) the law of the state with the most significant contacts; or (iv)
for the 1 Plaintiff filing from Kentucky, the law of Kentucky if there are any contacts with Kentucky. Importantly, regardless of the
forum or law applied, courts uniformly hold that “if the original entity” (here, Exactech) “still exists, there is no successor—and no
successor liability.” In re Welding Fume Prod. Liab. Litig., 2010 WL 2403355, at *1, 7 (N.D. Ohio June 11, 2010) (collecting cases
and dismissing “all” successor liability claims against parent-company defendant without any choice-of-law analysis) (emphases added).

         As noted above, Georgia law is no longer relevant to the choice-of-law analysis and is not included in the chart below.

    Forum      Applicable                       Authority: Choice-of-Law Rule5                             Authority: Where The Acquired Company Is
     (# of     Substantive                                                                                    Still In Business (Here, Exactech), No
    Claims)     State Law                                                                                           Successor Liability Attaches

                                          Choice-of-Law Rule: Place of Incorporation / Place of Contract
    CA (2)        DE, FL          Maine State Ret. Sys. v. Countrywide Fin. Corp., 2011 Stayton v. Clariant Corp., 2013 WL 5783814, at
                                  WL 1765509, at *3-4 (C.D. Cal. Apr. 20, 2011) *3 (Del. Super. Ct. Aug. 13, 2013), aff’d, 2014

5
         As explained in TPG’s brief, given that Exactech “continue[d] in existence” post-merger, it maintains its liabilities and no successor liability attaches
regardless of the state law that applies. 15 Fletcher Cyc. Corp. § 7121 (“In the case of a merger of one or more corporations into another, where one or more of
the corporations ceases to exist and another continues in existence, the latter corporation is liable for the debts, contracts and torts of the former ….”) (emphases
added). To the extent a choice-of-law analysis is relevant, cases discussing choice of law for successor liability claims primarily do so in the context of asset sales
instead of in the context of formal mergers (as appears to be alleged here, see generally AC). TPG is not aware of cases differentiating choice-of-law analyses
based on whether an asset sale or merger is at issue, and therefore includes available cases from both contexts. In any event, this does not change the substantive
analysis: the “general rule, which is well settled, is that where one company sells or otherwise transfers all its assets to another company, the latter is not liable for
the debts and liabilities of the transferor.” 15 Fletcher Cyc. Corp. § 7122.



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                  (California follows Restatement (Second) Conflicts of        WL 28726 (Del. Jan. 2, 2014) (evaluating
                  Laws § 307 which provides that successor liability is        successor liability for surviving entity following
                  “peculiar to corporations” and so the state with the most    merger where predecessor and “original
                  interest in such a claim is “the state of incorporation”)    tortfeasor” had “dissolved” and finding
                  (internal citation omitted).                                 successor liability only for the entity designated
                                                                               as the “surviving” corporation); Yuetter-
                                             ***                               Beacham v. Med. Career Inst. of S. Fla., Inc.,
                                                                               2017 WL 10775771, at *7-8 (S.D. Fla. Oct. 18,
                  Ramirez v. Chip Masters, Inc., 2014 WL 1248043, at *6        2017) (granting motion to dismiss and finding
                  (E.D.N.Y. Mar. 25, 2014) (declining to make choice-of-       “no basis for imposing successor liability” where
                  law decision because “New York law and California            plaintiffs tried to hold the owner liable despite
                  law are substantially similar on the determination of        “acknowledg[ing] in the Amended Complaint
                  successor liability” and the “Court’s analysis of            that ‘[t]he surviving business entity following
                  successor liability remains unchanged regardless of          the New Jersey Merger/Consolidation was’” the
                  whether New York law or California law applies”)             same primary alleged wrongdoer against whom
                  (emphasis added).                                            plaintiffs’ substantive claims had already
                                                                               succeeded); Patin v. Thoroughbred Power
                                                                               Boats, Inc., 294 F.3d 640, 644-45 n.8 (5th Cir.
                                                                               2022)      (applying Florida law) (affirming
                                                                               successor liability where one company “ceased
                                                                               manufacturing and selling pleasure boats” the
                                                                               same month that the successor “began
                                                                               manufacturing and selling pleasure boats” that
                                                                               “were essentially the same boats,” and the owner
                                                                               of both the predecessor and successor “did not
                                                                               provide a satisfactory or believable rational [sic]
                                                                               for the transformation of” one company to the
                                                                               other, or the transfer of assets from one to the
                                                                               other).
FL (3)   DE, FL   Action Nissan, Inc. v. Hyundai Motor Am., 2020 WL            Id.
                  7419669, at *6 (M.D. Fla. Nov. 5, 2020) (holding that
                  “[c]laims involving ‘internal affairs’ of corporations ...
                  are subject to the laws of the state of incorporation” and


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                   concluding that, because the “question of successor
                   liability involves [corporations’] internal affairs,” it
                   must apply the law of the state of incorporation) (internal
                   citation omitted).
LA (20)   DE, FL   Patin, 294 F.3d 640, 647 (holding “the Louisiana State Id.
                   Supreme Court would most likely conclude that the law
                   of the state of incorporation governs the determination
                   [of] when to pierce a corporate veil” and finding
                   successor liable where plaintiffs made substantial
                   allegations beyond those pled here).

NY (56)   DE, FL   Randle v. AC Asset Servs. LLC, 2022 WL 2680079, at Id.
                   *2 n.2 (W.D.N.Y. July 12, 2022) (“Under New York
                   choice-of-law rules, it is the law of the successor’s state
                   of incorporation that typically determines successor
                   liability.”) (internal citations omitted).

                                            ***

                   Fischer v. Prodigi, Inc., 2007 WL 2815494 (N.Y. Sup.
                   Ct. July 23, 2007) (holding the “court need not address
                   the choice of law issue” because the “laws of Delaware
                   and New York are substantially the same on the issue
                   of successor liability” and denying motion to dismiss
                   where plaintiff alleged defendant structured a
                   transaction so it “could escape its contractual
                   obligations” by leaving the predecessor “without the
                   financial wherewithal to pay the amounts due and
                   owing”) (emphasis added).




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    TN (31)         FL6         Bonee v. L & M Constr. Chems., 518 F. Supp. 375, 379, Id.
                                381 (M.D. Tenn. 1981) (holding successor liability is a
                                contract law issue so successor liability is “governed by
                                the law that the parties intended” and denying
                                defendant’s summary judgment motion based on
                                substantial allegations not present here, including that
                                “the [predecessor] ceased ordinary business operations”
                                in favor of successor’s).

                                                                ***

                                IBC Mfg. Co. v. Velsicol Chem. Corp., 187 F.3d 635 at
                                *2-3 (6th Cir. 1999) (affirming lower court’s decision
                                declining to choose between Delaware and Tennessee
                                substantive successor liability law since the “law of
                                successor liability is the same in both states” and
                                “which law applies does not change the result”)
                                (emphasis added).

    TX (1)          FL7         Ford, Bacon & Davis, LLC v. Travelers Ins. Co., 2010 Id.
                                WL 1417900, at *5 (S.D. Tex. Apr. 7, 2010), aff’d, 635
                                F.3d 734 (5th Cir. 2011) (“Under Texas law, the
                                [applicable] agreement’s choice of law provision



6
         The applicable contract here is the Merger Agreement between Exactech and Osteon Merger Sub, Inc. See, e.g, AC ¶ 94 (“The Merger Agreement stated
that Defendants Exactech, Inc. and Osteon Merger Sub, Inc. will be merged, and Exactech, Inc. will be the surviving entity”). The “law that the parties intended,”
Bonnee, 518 F. Supp. at 379, as evinced by the governing law provision, is Florida law. Ex. 2, § 9.08; see generally Messer Griesheim Indus., Inc. v. Cryotech of
Kingsport, Inc., 131 S.W.3d 457, 474-75 (Tenn. Ct. App. 2003) (“Tennessee follows the rule of lex loci contractus. … If the parties manifest an intent to instead
apply the laws of another jurisdiction, then that intent will be honored ….”).
7
        The applicable contract here is the Merger Agreement between Exactech and Osteon Merger Sub, Inc. See, e.g, AC ¶ 94. The “agreement’s choice of
law provision,” Ford, Bacon & Davis, LLC, 2010 WL 1417900, at *5, provides for Florida law. Ex. 2, § 9.08.



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                                 controls the applicability of successor                    liability
                                 doctrines.”) (internal citation omitted).

    VA (2)       DE, FL8         Ambrose v. Southworth Prod. Corp., 953 F. Supp. 728, Id.
                                 734-35 (W.D. Va. 1997) (characterizing successor
                                 liability as a contract issue and considering the “place
                                 where” the “actions and events leading to the transfer of
                                 assets … took place” and the “law of the jurisdiction
                                 where the corporation was formed,” since “[o]therwise,
                                 a corporation ... could face fifty different interpretations
                                 of successor liability” and denying summary judgment
                                 based on substantial allegations Plaintiffs do not allege
                                 here, including that the successor “continued to do
                                 business under a similar name and continued to use
                                 [predecessor’s letterhead]”) (internal citation omitted).

                                                                 ***

                                 Royal All. Assocs., Inc. v. Branch Ave. Plaza, L.P., 587
                                 F. Supp. 2d 729, 738 (E.D. Va. 2008) (declining to
                                 choose between New York and Virginia substantive
                                 successor liability law and holding such a choice would
                                 be “unnecessary … because Virginia and New York law
                                 on successor liability is essentially the same”)
                                 (emphasis added).




8
         The relevant states of incorporation reflecting the “jurisdiction where the corporation was formed” and where the “actions and events leading to the transfer
of assets took place,” Ambrose, 953 F. Supp. at 734-35 (internal citation omitted), are Florida (i.e., Exactech, see AC ¶¶ 18-19) and Delaware (i.e., the existing
Osteon entities and TPG Inc., see id. ¶¶ 24, 32, 35).



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                                                            Choice-of-Law Rule: Place of Wrong9

     AL (2)         AL10          American Nonwovens, Inc. v. Non Wovens Eng’g,                             Ray v. Judicial Corr. Servs., Inc., 2018 WL
                                  S.R.L., 648 So. 2d 565, 570 (Ala. 1994) (“The majority                    2130408, at *4-5 (N.D. Ala. May 9, 2018)
                                  of these cases” which “address[] the choice of law issue                  (finding no successor liability because the
                                  with regard to corporate successor liability in products-                 alleged tortfeasor “did not cease operations and
                                  liability cases … have held that the forum state’s conflict               liquidate after the merger” and explaining that
                                  rule for tort cases should also apply to the corporate                    “[i]f the original entity still exists, however, there
                                  successor liability issue.”); see generally Precision Gear                is no successor, and therefore, no successor
                                  Co. v. Cont’l Motors, Inc., 135 So. 3d 953, 960 (Ala.                     liability”).
                                  2013) (“Alabama law applies the rule of lex loci delicti
                                  [where the injury occurred] to determine the substantive
                                  law applicable to tort claims ….”).

                                                                    ***

                                  In re 331 Partners, LLC, 2011 WL 3440099, at *5 n.4
                                  (S.D. Ala. Aug. 8, 2011) (holding the “law of Alabama
                                  and Florida is the same regarding successor liability, so
                                  the court need not determine which state’s law applies
                                  in this case”) (emphasis added).

     AR (11)        AR11          Reed v. Armstrong Cork Co., 577 F. Supp. 246, 248 Cheatham v. Teva Pharms. USA, Inc., 2011 WL
                                  (E.D. Ark. 1983) (“The Court agrees with defendants 13315698, at *3 (E.D. Ark. May 18, 2011)
                                  that the question of [successor] liability … is tort rather (granting summary judgment for parent and

9
          Under lex loci delicti, “[t]he place of wrong is in the state where the last event necessary to make an actor liable for an alleged tort takes place.” Restatement
(First) of Conflict of Laws § 377 (1934).
10
        The Plaintiffs who originally filed in Alabama or designated Alabama as their Original District reside in Alabama and allege their implant surgeries
occurred in Alabama. See Rev. App’x B.
11
        The Plaintiffs who originally filed in Arkansas or designated Arkansas as their Original District reside in Arkansas and allege their implant surgeries
occurred in Arkansas (or fail to allege any surgery location). See Rev. App’x B.



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                                 than contract law and so the law of the situs where the finding subsidiary’s liabilities not imputed to
                                 injury occurred and plaintiff resides would control.”). parent under a successor liability theory where
                                                                                         parent and subsidiary “remain[ed] separate and
                                                                                         distinct companies”).

     NC (3)      NC, OH,         Bell v. American Int’l Indus., 2021 WL 3269595, at *3                 Atwell v. DJO, Inc., 803 F. Supp. 2d 369, 373
                  NY12           (M.D.N.C. July 30, 2021) (“North Carolina choice of                   (E.D.N.C. 2011) (holding successor liability did
                                 law rules dictate that the law of either the forum or the             not attach including because “two independent
                                 situs of the claim [i.e., where the injury occurred] should           corporations continued to exist and conduct
                                 apply ….”).                                                           business following the transaction”); Hoover v.
                                                                                                       Recreation Equip. Corp., 792 F. Supp. 1484,
                                                                                                       1495-96 (N.D. Ohio 1991) (holding that “[i]f the
                                                                                                       predecessor continued to exist as a viable
                                                                                                       business concern” then “the successor was not a
                                                                                                       mere continuation of the predecessor” and
                                                                                                       denying defendant’s motion for summary
                                                                                                       judgment where defendant “itself stated” “in its
                                                                                                       answer to [an] interrogatory … that [the alleged
                                                                                                       predecessor] was dissolved de facto”); Omar v.
                                                                                                       Front St. Grimaldi, Inc., 2018 WL 2121550, at
                                                                                                       *1-2, 4 (E.D.N.Y. May 8, 2018) (cited by
                                                                                                       Plaintiffs, see ECF No. 183 at 2) (weighing
                                                                                                       successor liability theory where the predecessor
                                                                                                       “became inactive” and “dissolved,” and the
                                                                                                       alleged successor company replaced it in
                                                                                                       operating the same pizza business).




12
         The three Plaintiffs who designated North Carolina as their Original District reside in North Carolina but allege their implant surgeries occurred in Ohio,
New York, and North Carolina, respectively. See Rev. App’x B. Plaintiffs’ successor liability theory fails regardless of whether the Court looks to Ohio, New
York, or North Carolina law.



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     OH (3)        OH13         Hoover, 792 F. Supp. at 1491 (N.D. Ohio 1991) (holding Hoover v. Recreation Equip. Corp., 792 F. Supp.
                                that, under Ohio law, the “conflicts issue begins with the at 1495.
                                presumption that the law of … the place of injury[]
                                controls”).

     SC (1)        FL14         Grady v. Deese, 2012 WL 1106933, at *3 (D.S.C. Apr. Yuetter, 2017 WL 10775771, at *7; Patin, 294
                                2, 2012) (“[T]o the extent successor liability claims are F.3d at 645.
                                founded on tort law” “South Carolina follows the
                                doctrine of lex loci delicti ... the place where the injury
                                occurred. … [But,] to the extent successor liability turns
                                on interpretation of the contract through which [the
                                successor] acquired rights ... [the contract’s governing
                                law provision] controls.”).




13
         The Plaintiffs who designated Ohio as their Original District reside in Ohio and allege their implant surgeries occurred in Ohio. See Rev. App’x B.
14
        The Plaintiff who designated South Carolina as its Original District resides in South Carolina but alleges the implant surgery occurred in Florida. See
Rev. App’x B.



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                                                    Choice-of-Law Rule: Significant Relationship15

     CO (1)      CO, DE,         Hickman v. Thomas C. Thompson Co., 592 F. Supp.                         Baca v. Depot Sales, LLC, 2007 WL 988061, at
                  FL16           1282, 1283, 1286 (D. Colo. 1984), disagreed with on                     *1, 3 (D. Colo. Mar. 30, 2007) (holding that
                                 other grounds by Florom v Elliott Mfg., 867 F.2d (1989)                 successor liability applies where the predecessor
                                 (applying “the law of the state with the most significant               corporation “ceased to exist” and the same
                                 contacts to the underlying tort” and finding successor                  individual “ran the business both before and after
                                 liability “may” apply given allegations absent here,                    the transfer,” the business’s address remained the
                                 including that the successor “continued to operate                      same, and “[n]either the business’s 800 number,
                                 [predecessor’s] enamel business selling products                        website, nor overall business practices were
                                 manufactured in the same plant, using the same                          impacted by the transfer”) (internal citation
                                 procedures and bearing the [predecessor’s] name”).                      omitted); Stayton, 2013 WL 5783814, at *3;
                                                                                                         Yuetter, 2017 WL 10775771, at *7; Patin, 294
                                                                                                         F.3d at 645.

     CT (11)     CT, NY,         Peglar & Assocs., Inc. v. Pro. Indem. Underwriters                      Lake Rd. Tr., LTD v. ABB, Inc., 2012 WL
                 DE, FL17        Corp., 2002 WL 1610037, at *3 (Conn. Super. Ct. June                    3064628, at *8-9 (Conn. Super. Ct. June 25,
                                 19, 2002) (applying “Connecticut’s own conflict of laws                 2012) (granting summary judgment and holding
                                 rules” for choice-of-law determination on successor                     “no successor liability” where the alleged

15
          Under the significant relationship test, “[c]ontacts to be taken into account … to determine the law applicable to an issue include: (a) the place where the
injury occurred, (b) the place where the conduct causing the injury occurred, (c) the domicil, residence, nationality, place of incorporation and place of business of
the parties, and (d) the place where the relationship, if any, between the parties is centered.” Restatement (Second) of Conflict of Laws § 145 (1971).
16
         The factors in the significant relationship test (supra n.15) do not uniformly point to the Plaintiff’s home state and surgery location (here, Colorado). For
example, the “place of the conduct causing the injury” (here, alleged to be Florida (see, e.g., AC ¶ 83 (“Exactech’s internal manufacturing, assembly, packaging,
and quality control operation were conducted at its principal headquarters in Gainesville, Florida”), id. ¶¶ 81, 177, 241)) and the “place of incorporation and the
place of business of the parties” (here, Delaware or Florida (AC ¶¶ 18-19, 24, 32, 35)) point to Delaware or Florida law rather than the home state. As explained
in TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court applies.
17
          For the reasons explained supra nn.15-16, the factors in the significant relationship test do not uniformly point to the Plaintiffs’ home state (here,
Connecticut). Some point to Delaware or Florida law while others, at least for certain Plaintiffs, point to New York. For example, “the place where the injury
occurred” depends on the location of the implantation surgery; while some Plaintiffs who originally filed in Connecticut or designated Connecticut as their Original
District allege their implant surgeries occurred in Connecticut, others allege their implant surgeries occurred in New York. See Rev. App’x B. As explained in
TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court applies.



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                                  liability and considering the subject matter of the                      tortfeasor “still exists,” and “imposition of
                                  contract and the place of contracting, negotiation, and                  successor liability under the mere continuation
                                  performance, as well as the domicile, residence,                         and continuity of enterprise theories requires a
                                  nationality, place of incorporation and place of business                threshold determination that the predecessor no
                                  of the parties).                                                         longer represents a viable source of relief”);
                                                                                                           Stayton, 2013 WL 5783814, at *3; Yuetter,
                                                                                                           2017 WL 10775771, at *7; Patin, 294 F.3d at
                                                                                                           645; Omar, 2018 WL 2121550, at *4.
     ME (22)     ME, DE,          See generally Flaherty v. Allstate Ins. Co., 822 A.2d                    Mahar v. Sullivan & Merritt, Inc., 2013 WL
                  FL18            1159, 1166 (Me. 2003) (applying the law of the state                     6143130, at *26 (Me. Super. Ct. July 18, 2013)
                                  with the “most significant contacts and relationships”                   (finding no successor liability and noting the
                                  test “not only in tort actions, but in contract disputes as              mere continuation standard “at a minimum”
                                  well”); Ricci v. Alternative Energy Inc., 211 F.3d 157,                  includes “the continued existence of only one
                                  165 (1st Cir. 2000) (citing and applying Restatement                     corporation after the sale of assets” such that “the
                                  (Second) of Conflict of Laws § 145 (1971) factors).                      purchasing corporation is merely a ‘new hat’ for
                                                                                                           the seller”) (emphasis omitted); Stayton, 2013
                                                                                                           WL 5783814, at *3; Yuetter, 2017 WL
                                                                                                           10775771, at *7; Patin, 294 F.3d at 645.

     MO (1)      MO, DE,          Osborn v. Prime Tanning Corp., 2011 WL 13291159, at                      Bozell v. H & R 1871, Inc., 916 F. Supp. 951, 953
                  FL19            *5-6 (W.D. Mo. Apr. 29, 2011) (holding “Missouri case                    (E.D. Mo. 1996) (finding no successor liability
                                  law indicates successor liability issues require                         where the “original corporation … is still in
                                  application of … the [state with] the most significant                   existence” and holding a successor cannot be
                                  relationship to the present issue of successor liability”                considered a “continuation [where] they exist
                                  and considering “the place of injury,” where defendants                  simultaneously”); Stayton, 2013 WL 5783814, at


18
         For the reasons explained supra nn.15-16, the factors in the significant relationship test do not uniformly point to the Plaintiffs’ home state and surgery
location (here, Maine). Some point to Delaware or Florida law. As explained in TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court applies.
19
         For the reasons explained supra nn.15-16, the factors in the significant relationship test do not uniformly point to the Plaintiff’s home state (here, Missouri)
or surgery location (which this Plaintiff fails to allege). Some point to Delaware or Florida law. As explained in TPG’s brief, Plaintiffs’ claims fail regardless of
what state law the Court applies.



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                                 were incorporated, and where the “parties’ relationship *3; Yuetter, 2017 WL 10775771, at *7; Patin,
                                 is centered”).                                          294 F.3d at 645.

     NJ (22)   NJ, NY, CT Premier Pork, LLC v. Westin Packaged Meats, Inc., 406                          Berk & Berk at Cherry Tree, LLC v. Nelson,
                DE, FL20  F. App’x 613, 615-16 (3d Cir. 2011) (“New Jersey’s                             Brown, Hamilton & Krekstein, LLC, 2019 WL
                          choice of law rules … require application of the law of                        1578803, at *3 (N.J. Super. Ct. App. Div. Apr.
                          the state with the greatest interest in a dispute” and                         12, 2019) (affirming summary judgment and
                          considering where the “facts that [plaintiff] appears to                       finding no successor liability where there was no
                          rely upon to establish successor liability” occurred);                         assumption of liabilities and the predecessor
                          see Ginsberg ex rel. Ginsberg v. Quest Diagnostics,                            “continued to operate”); Lake Rd. Tr., 2012 WL
                          Inc., 117 A.3d 200, 218 (N.J. Super. Ct. App. Div.                             3064628, at *8-9 (Conn. Super. Ct. June 25,
                          2015), aff’d, 227 N.J. 7, 147 A.3d 434 (2016) (citing and                      2012); Omar, 2018 WL 2121550, at *4; Stayton,
                          applying Restatement (Second) of Conflict of Laws §                            2013 WL 5783814, at *3; Yuetter, 2017 WL
                          145 (1971) factors).                                                           10775771, at *7; Patin, 294 F.3d at 645.

     PA (1)      PA, DE,         Lopata v. Bemis Co., 406 F. Supp. 521, 522 (E.D. Pa.                    In re Suboxone (Buprenorphine Hydrochloride
                  FL21           1975), aff’d, 546 F.2d 417 (3d Cir. 1976) (applying the                 & Naloxone) Antitrust Litig., 2017 WL 4810801,
                                 law of the state with the most contacts and considering                 at *7 (E.D. Pa. Oct. 25, 2017) (granting motion
                                 the most “vitally important” factor to be the state “where              to dismiss successor liability claim and holding
                                 the injury occurred”).                                                  “[i]t is well established that ‘[i]f the original
                                                                                                         entity still exists … there is no successor, and
                                                                                                         therefore no successor liability’”); Stayton, 2013
                                                                                                         WL 5783814, at *3; Yuetter, 2017 WL



20
          For the reasons explained supra nn.15-16, the factors in the significant relationship test do not uniformly point to the Plaintiffs’ home state (here, New
Jersey). Some point to Delaware or Florida law while others point to New York or Connecticut. For example, “the place where the injury occurred” depends on
the location of the implantation surgery; the Plaintiffs who filed in and reside in New Jersey allege their implantation surgeries occurred in New York or Connecticut.
See Rev. App’x B. As explained in TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court applies.

21
         For the reasons explained supra nn.15-16, the factors in the significant relationship test do not uniformly point to the Plaintiff’s home state and surgery
location (here, Pennsylvania). Some point to Delaware or Florida law. As explained in TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court
applies.



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                                                                                                       10775771, at *7; Patin, 294 F.3d at 645; Omar,
                                                                                                       2018 WL 2121550, at *4.

     WY (1)     WY, DE,          See generally Tolman, 926 F. Supp. 2d at 1258                         Trial Laws. Coll. v. Gerry Spences Trial Laws.
                 FL22            (“Regarding tort claims … Wyoming applies the                         Coll. at Thunderhead Ranch, 2022 WL 4388478,
                                 traditional choice-of-law rule lex loci delicti: The                  at *5 (D. Wyo. Sept. 22, 2022) (weighing
                                 substantive law of the place where the injury occurred                successor liability theory where the predecessor
                                 governs.”).                                                           and successor had the “same ‘core cabal of
                                                                                                       actors’” since the “persons involved in [the
                                                                                                       successor] were the same as those involved in
                                                                                                       [the predecessor]” and the successor operated “to
                                                                                                       achieve the same objectives” since the successor
                                                                                                       “continues the business that [the predecessor
                                                                                                       had] intended to do, namely, operating [the
                                                                                                       same] trial skills college at the Thunderhead
                                                                                                       Ranch”); Stayton, 2013 WL 5783814, at *3;
                                                                                                       Yuetter, 2017 WL 10775771, at *7; Patin, 294
                                                                                                       F.3d at 645.

                                                    Choice-of-Law Rule: Any Significant Contact

     KY (1)     KY, TN23         Weingartner Lumber & Supply Co. v. Kadant                             In re Darvocet, Darvon & Propoxyphene Prod.
                                 Composites, LLC, 2010 WL 996473, at *3-4 (E.D. Ky.                    Liab. Litig., 2012 WL 1345175, at *4 (E.D. Ky.
                                 Mar. 16, 2010) (applying Kentucky law because                         Apr. 18, 2012) (granting motion to dismiss in an
                                 “sufficient contacts exist to justify applying Kentucky               MDL and finding the rules of successor liability
                                 law to the instant action” since plaintiff was domiciled              “inapplicable” and the concern underlying

22
         For the reasons explained supra nn.15-16, the factors in the significant relationship test do not uniformly point to the Plaintiffs’ home state and surgery
location (here, Wyoming). Some point to Delaware or Florida law. As explained in TPG’s brief, Plaintiffs’ claims fail regardless of what state law the Court
applies.
23
        The Plaintiff who designated Kentucky as its Original District resides in Kentucky but alleges the implant surgery occurred in Tennessee. See Rev. App’x
B. Plaintiffs’ successor liability theory fails regardless of whether Kentucky or Tennessee principles apply.



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      in Kentucky and received the defective product in successor liability “not present” where the
      Kentucky and “Kentucky’s conflict of law rules favor original entities “still exist” because the “law is
      application of its own law whenever it can be justified”). clear that ‘if the original entity still exists, there
                                                                 is no successor—and no successor liability’”)
                                 ***                             (internal citation omitted); Flake v. Schrader-
                                                                 Bridgeport Int’l, Inc., 538 F. App’x 604, 611 (6th
      C-Ville Fabricating, Inc. v. Tarter, 2022 WL 896104, at Cir. 2013) (applying Tennessee law and rejecting
      *8 (E.D. Ky. Mar. 25, 2022) (stating Kentucky courts successor liability claim where the tortfeasor
      “have consistently looked to Delaware cases when there “continued to operate as a viable entity” and
      is a dearth of corporate case law on a particular issue in holding there can be “no successor liability[] if
      Kentucky” and collecting Kentucky state court cases the predecessor corporation remains a viable
      noting use of Delaware law for Kentucky corporate law source for recourse”) (internal citation and
      issues).                                                   quotations omitted).




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